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                   UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                         GREENVILLE DIVISION

  IN RE:                                      )
                                              )       Case No. 19-00730
  CAH ACQUISITION COMPANY #1, LLC, d/b/a      )
  WASHINGTON COUNTY HOSPITAL,                 )       Chapter 11
                                              )
  Debtor.                                     )
                                              )
  IN RE:                                      )
                                              )        Case No. 19-01230
  CAH ACQUISITION COMPANY #2, LLC, d/b/a      )
  OSWEGO COMMUNITY HOSPITAL,                  )        Chapter 11
                                              )
  Debtor.                                     )
                                              )
  IN RE:                                      )
                                              )        Case No. 19-01180
  CAH ACQUISITION COMPANY #3, LLC, d/b/a      )
  HORTON COMMUNITY HOSPITAL,                  )        Chapter 11
                                              )
  Debtor.                                     )
                                              )
  IN RE:                                      )
                                              )        Case No. 19-01300
  CAH ACQUISITION COMPANY 6, LLC, d/b/a       )
  I-70 COMMUNITY HOSPITAL,                    )        Chapter 11
                                              )
  Debtor.                                     )
                                              )
  IN RE:                                      )
                                              )        Case No. 19-01298
  CAH ACQUISITION COMPANY 7, LLC, d/b/a       )
  PRAGUE COMMUNITY HOSPITAL,                  )        Chapter 11
                                              )
  Debtor.                                     )
                                              )
  IN RE:                                      )
                                              )        Case No. 19-01697
  CAH ACQUISITION COMPANY 12, LLC, d/b/a      )
  FAIRFAX COMMUNITY HOSPITAL,                 )        Chapter 11
                                              )
  Debtor                                      )
                                              )




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  IN RE:                                      )
                                              )                      Case No. 19-01227
  CAH ACQUISITION COMPANY 16, LLC, d/b/a )
  HASKELL COUNTY COMMUNITY                    )                      Chapter 11
  HOSPITAL,                                   )
                                              )                      (Jointly Administered)
  Debtor.                                     )
  ___________________________________________ )

        TRUSTEE’S FIFTH STATUS REPORT ON SALES OF DEBTORS’ ASSETS

        NOW COMES Thomas W. Waldrep, Jr., the trustee (the “Trustee”) for the above-

 captioned debtors (individually, a “Debtor,” and collectively, the “Debtors”), by and through

 undersigned counsel, and hereby submits this Fourth Status Report on the sales of the Debtors’

 assets. In support thereof, the Trustee respectfully states as follows:

 CAH Acquisition Company #1, LLC

        1.      At the hearing on January 16, 2020 (the “Sale Hearing”), the Court approved the

 Trustee’s motion to sell this Debtor’s assets [Case No. 19-00730, Dkt. No. 519] to Affinity Health

 Partners, LLC (“Affinity”) pursuant to Affinity’s stalking horse bid.

        2.      This Court’s Order approving the sale to Affinity [Case No. 19-00730, Dkt. No.

 686] was entered on February 7, 2020. Also on February 7, 2020, the Trustee filed the Trustee’s

 Status Report on Sales of Debtors’ Assets in all of the Debtors’ cases (the “First Status Report”).

        3.      Since February 7, 2020, the Trustee has remained in daily contact with Affinity.

 Using the services of Mr. Chip Ezell of Cobalt Capital Partners (“Cobalt”) to raise the necessary

 funds necessary to close on the sale of the hospital, Affinity has approached several asset-based

 lenders to fund the purchase of the hospital.

        4.      Today Affinity received and executed a Conditional Funding Commitment from

 Northwind Financial Corporation to fund its purchase of Washington Regional Medical Center.




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 The Conditional Funding Commitment has been shared with Washington County, First Capital,

 and the Bankruptcy Administrator. The Trustee expects the closing to occur on March 31, 2020.

        5.      In case Affinity does not close in a timely manner, Sherwood Partners, at the

 direction of the Trustee, continues to re-market the property.

        6.      The Trustee will update the Court weekly as to the status of this closing, with the

 next such weekly update being filed no later than March 31, 2020, if needed.

 CAH Acquisition Company #2, LLC

        9.      At the Sale Hearing, the Trustee received a bid in open court for this Debtor’s assets

 from Oswego Neuropsych Hospital, Inc. (“NHI”). Pursuant to the Court’s Order authorizing the

 Trustee to consider such bid [Case No. 19-01230, Dkt. No. 297], the Trustee scheduled a phone

 auction that was ultimately canceled for lack of competing bidders, resulting in NHI as the sole,

 highest, and best bidder for this Debtor’s assets.

        10.     The Court approved the proposed sale to NHI at a subsequent hearing on January

 29, 2020 (the “Second Sale Hearing”). The Sale Order was entered on February 18, 2020 [Case

 No. 19-01230, Dkt. No. 324].

        11.     The Trustee has maintained communications with counsel for NHI and anticipates

 the closing of the sale of this Debtor’s assets will occur on March 26, 2020.

        12.     The Trustee will update the Court weekly as to the status of this closing, with the

 next such weekly update being filed no later than March 31, 2020.

 CAH Acquisition Company #3, LLC

        13.     At the Sale Hearing, the Court approved the Trustee’s motion to sell this Debtor’s

 assets [Case No. 19-01180, Dkt. No. 272] to Atchison Health Association (“Atchison”) pursuant

 to Atchison’s high bid at the December 19, 2019 auction (the “Auction”).



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        14.       In the First Status Report, the Trustee reported that he had uploaded the Sale Order

 and APA to the Court, which was entered by the Court on January 31, 2020 [Case No. 19-01180,

 Dkt. No. 371].

        15.       The sale of this Debtor’s assets closed on March 20, 2020.

 CAH Acquisition Company 6, LLC

        16.       At the Sale Hearing, the Court approved the Trustee’s motion to sell this Debtor’s

 assets [Case No. 19-01300, Dkt. No. 362] to Affinity Health Partners, LLC (“Affinity”) pursuant

 to Affinity’s stalking horse bid.

        17.       This Court’s Order approving the sale to Affinity [Case No. 19-01300, Dkt. No.

 486] was entered on February 7, 2020.

        18.       The Trustee has remained in daily contact with Affinity with respect to the I-70

 facility. Affinity expect to receive a funding commitment form Northwind to fund the purchase

 of the I-70 facility. Due to delays in the closing process, the Trustee now anticipates that the

 closing of the sale of this Debtor’s assets will occur in mid-April. The Trustee is communicating

 with the primary secured creditor in this Debtor’s case, First Liberty Bank, about the sale closing

 deadline.

        23.       The Trustee will update the Court weekly as to the status of this closing, with the

 next such weekly update being filed no later than March 31, 2020.

 CAH Acquisition Company 7, LLC

        24.       At the Sale Hearing, the Court approved the Trustee’s motion to sell this Debtor’s

 assets [Case No. 19-01298, Dkt. No. 341] to Transcendental Union with Love and Spiritual

 Advancement (“TULSA”) pursuant to TULSA’s high bid at the Auction.




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         25.      In the First Status Report, the Trustee reported that he had uploaded the Sale Order

 and APA to the Court, which was entered by the Court on February 4, 2020 [Case No. 19-01298,

 Dkt. No. 450].

         26.      As reported in the Second Status Report, this closing was delayed as TULSA

 obtained counsel. The Trustee has maintained contact with such counsel and expects the sale to

 close before the end of this month. The Trustee is currently holding funds for the full purchase

 price of the assets in his law firm’s client trust account.

         27.      The Trustee will update the Court weekly as to the status of this closing, with the

 next such weekly update being filed no later than March 31, 2020.

 CAH Acquisition Company 12, LLC

         28.      At the Sale Hearing, the Court approved the Trustee’s motion to sell this Debtor’s

 assets [Case No. 19-01697, Dkt. No. 330] to Rural Wellness Fairfax, Inc. (“RWF”) pursuant to

 RWF’s high bid at the Auction.

         29.      The Sale Order was entered by the Court on February 14, 2020 [Case No. 19-01697,

 Dkt. No. 447].

         30.      The sale of this Debtor’s assets closed on March 20, 2020.

 CAH Acquisition Company 16, LLC

         31.      At the Sale Hearing, the Trustee received a bid in open court for this Debtor’s assets

 from Haskell Regional Hospital, Inc. (“HRH”). Pursuant to the Court’s Order authorizing the

 Trustee to consider such bid [Case No. 19-01227, Dkt. No. 405], the Trustee scheduled a phone

 auction that was ultimately canceled for lack of competing bidders, resulting in HRH as the sole,

 highest, and best bidder for this Debtor’s assets.




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        32.     The Court approved the proposed sale to HRH at the Second Sale Hearing. The

 Sale Order was entered by the Court on February 18, 2020 [Case No. 19-01227, Dkt. No. 430].

        33.     The Trustee anticipated that the sale would close within thirty (30) days following

 the entry of the Sale Order, but HRH has requested an additional thirty (30) days to close. The

 Trustee and HRH are still negotiating. The Trustee is informed and believes that HRH will be

 filing a motion to extend the sale closing deadline on an ex parte basis.

        34.     The Trustee will update the Court as to the status of this closing, included the

 requested extension, by the filing of a subsequent status report no later than March 31, 2020.

        Respectfully submitted, this the 25th day of March, 2020.

                                        WALDREP LLP

                                        /s/ Thomas W. Waldrep, Jr.
                                        Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                        Jennifer B. Lyday (NC Bar No. 39871)
                                        Francisco T. Morales (NC Bar No. 43079)
                                        101 S. Stratford Road, Suite 210
                                        Winston-Salem, NC 27104
                                        Telephone: 336-717-1440
                                        Telefax: 336-717-1340
                                        Email: notice@waldrepllp.com

                                       - and –

                                        HENDREN, REDWINE & MALONE, PLLC

                                        Jason L. Hendren (NC State Bar No. 26869)
                                        Rebecca F. Redwine (NC Bar No. 37012)
                                        4600 Marriott Drive, Suite 150
                                        Raleigh, NC 27612
                                        Telephone: 919-420-7867
                                        Telefax: 919-420-0475
                                        Email: jhendren@hendrenmalone.com
                                              rredwine@hendrenmalone.com

                                        Co-Counsel for the Trustee




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